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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

                                                            MDL No. 2:18-mn-2873-RMG
In Re: AQUEOUS FILM-FORMING
FOAMS PRODUCTS LIABILITY                                    This Document Relates to:
LITIGATION
                                                             Brock Donnelly v. 3M Company et
                                                             al., No. 2:20-cv-00209-RMG

                                                             Clinton Speers & Gail Speers v.
                                                             3M Company et al., No. 2:21-cv-
                                                             03181-RMG

                                                             Kevin Voelker v. 3M Company et
                                                             al., No. 2:18-cv-03438-RMG


                DEFENDANTS’ SECOND OMNIBUS MOTION TO EXCLUDE
                        PLAINTIFFS’ EXPERT TESTIMONY

       Pursuant to Federal Rules of Evidence 702 and Case Management Order Nos. 26-G and 26-J,

Defendants’ Co-Lead Counsel, on behalf of the PI Bellwether Defendants, submit this second omnibus

motion to exclude certain testimony from Dr. David MacIntosh, Mr. Anthony Brown, and Mr. Stephen

Petty. As set forth in the accompanying memorandum of law, these experts’ opinions do not satisfy

the standards for the admission of expert testimony. Defendants additionally seek an order regarding

expert testimony challenged by Defendants, and considered by this Court, in City of Stuart, as described

in the accompanying memorandum of law.
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Dated: June 17, 2025                    Respectfully submitted,
                                        /s/ Brian Duffy


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                                   Defense Co-Leads




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                                  CERTIFICATE OF SERVICE

       On June 17, 2025, I electronically submitted the foregoing document with the Clerk of Court,

using the electronic case filing system of the Court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).



                                                     /s/ Brian Duffy
                                                     Brian Duffy




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